Case 09-61855-bem        Doc 35    Filed 07/01/09 Entered 07/01/09 02:32:12            Desc Main
                                   Document     Page 1 of 3




                         UNITED STATES BANKRUPTCY COURT

                     FOR THE NORTHERN DISTRICT OF GEORGIA


In Re: Debtor: Todd Anthony Shaw                            Case No. 09-61855.MGD
       1010 Forest Overlook Drive                           Judge: Mary Grace Diehl
       Atlanta, Georgia 360331                              Chapter: 7




______________________________________________________________________________

                                 REQUEST FOR NOTICE

______________________________________________________________________________


       COMES NOW MONTIE S. DAY, ATTORNEY and requests that notice be given as to

any filing, hearing, or other matters submitted to the court in the above matter. Notice should be

given, if by mail, to at the following address:

                              MONTIE S. DAY, ATTORNEY
                              DAY LAW OFFICES
                              P. O. BOX 1525
                              WILLIAMS, CALIFORNIA 95987

       MONTIE S. DAY, attorney, is registered for electric notice with this Court.

Date: July 1, 2009                                   DAY LAW OFFICES

                                                       /s/ Montie S. Day
                                                     BY:_______________________________
                                                     Montie S. Day, Attorney
                                                     Day Law Offices
                                                     P. O. Box 1525
                                                     Williams, California 95987
Case 09-61855-bem       Doc 35   Filed 07/01/09 Entered 07/01/09 02:32:12          Desc Main
                                 Document     Page 2 of 3



                                  CERTIFICATE OF SERVICE
I hereby certify that on July 1, 2009, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to:

       Sidney Gelernter bkecfnotices@mccurdycandler.com
       Sidney Gelernter bkecfnotices@mccurdycandler.com
       S. Gregory Hays ghays@haysconsulting.net,
       saskue@haysconsulting.net;kmalek@haysconsulting.net;sbao@haysconsulting.net
       ;rhunter@haysconsulting.net;GA32@ecfcbis.com
       Martin P. Ochs martin.p.ochs@usdoj.gov
       Office of the US Trustee ustpregion21.at.ecf@usdoj.gov
and sent by manual mailing to the following:

Arnall Golden Gregory LLP
c/o Neil C. Gordon, Esq.
171 17th Street, N.W.
Suite 2100
Atlanta, GA 30363-1031

Richard M. Jones
Law Office of Richard Jones, P.C.
North Center - Suite 309H
4319 Covington Highway
Decatur, GA 30035

Keenan Wilkins
ART278
5325 Broder Blvd.
Dublin, CA 94568

       Description of Document: Request for Notice

                                           /s/ Montie S. Day,
                                           Montie S. Day, Attorney (Cal Bar 73327)
                                                  DAY LAW OFFICES
                                                  P. O. BOX 1525
                                                  Williams, California 95987
                                                  Tel: (208) 280-3766
                                                  Email: oyad@aol.com
                                                  (208) 280-3766
Case 09-61855-bem   Doc 35   Filed 07/01/09 Entered 07/01/09 02:32:12   Desc Main
                             Document     Page 3 of 3
